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                               IN THE UNITED STATES DISTRICT
                                 COURT FOR THE DISTRICT OF
                                         COLUMBIA

 RYAN J. STRASSER,                                 )
                                                   )
                                Plaintiff,         )
                                                   )
                    v.                             )     Case No. 1:18-cv-02207-RCL
                                                   )
 SARAH JONES DICKENS,                              )     Judge Royce C. Lamberth
                                                   )
                                Defendant.         )
                                                   )


                   REPORT TO COURT ON ORDER DOCKETED JANUARY
                    3, 2019, AND CONSENT MOTION FOR EXTENSION OF
                        TIME FOR DEFENDANT TO FILE RESPONSIVE
                                       PLEADING
         COME NOW Plaintiff Ryan Strasser and Defendant Sarah Jones Dickens, by counsel, in

 response to the Court’s Order directing Plaintiff to cause default to be entered or to show cause

 why a motion for default has not been filed (Docket No. 4), and jointly state that the parties have

 agreed, subject to approval by the Court, to extend the time within which Defendant may answer

 or otherwise plead in response to the Complaint, in order to pursue mediation before a private

 mediator, which mediation is scheduled for February 14, 2019. Accordingly, Defendant hereby

 moves, with Plaintiff’s consent, that Defendant may have up through and including March 12,

 2019, to answer or otherwise plead in response to the Complaint if the parties are unable to resolve

 the matter by private mediation. As further grounds for its consent motion, Defendant states the

 following:

          1.       A Proof of Service was filed in this matter on October 26, 2018 attesting that the

 Summons was served on Defendant on October 22, 2018 and the Summons provided for a

 responsive pleading to be filed within 21 days after service, which was November 12, 2018.


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          2.       Plaintiff and Defendant, through undersigned counsel, agreed on November 12,

 2018, that Defendant would have an additional 60 days within which to answer or otherwise plead

 in response to the Complaint, and that the parties would preserve fully their respective legal

 positions, as of November 12, 2018, with respect to any responsive pleading.

          3.       On the basis of their agreement, the parties selected a retired judge as a mediator.

 The earliest mediation date they could secure was February 14, 2019, requiring an additional

 extension of the time within which Defendant must answer or otherwise plead in response to the

 Complaint. The parties have agreed, subject to approval by the Court, to extend the time to and

 including March 12, 2019.

          4.       Accordingly, Defendant respectfully requests to extend for an additional 60 days,

 from January 11, 2019, to March 12, 2019, the date within which it shall answer or otherwise plead

 in response to the Complaint.

          5.       Granting the relief will allow the parties a good faith opportunity to resolve their

 dispute without burdening the resources of the Court.

        WHEREFORE, the Consent Motion for Extension of Time for Defendant to File

Responsive Pleading should be granted.


 DATED: January 10, 2019

                                                          /s/ Mikhael D. Charnoff
                                                          Mikhael D. Charnoff (#476583)
                                                          PERRY CHARNOFF PLLC
                                                          1010 N. Glebe Road, Suite 310
                                                          Arlington, VA 22201
                                                          P: 703-291-6650
                                                          F: 703- 563-6692
                                                          mike@perrycharnoff.com
                                                          Counsel for Defendant




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                                                     /s/ Steven P. Hollman
                                                     Steven P. Hollman (#375658)
                                                     James N. Bierman, Jr.
                                                     SHEPPARD MULLIN RICHTER
                                                     & HAMPTON LLP
                                                     2099 Pennsylvania Ave., Suite 100
                                                     Washington, DC 20006
                                                     P: 202-747-1931
                                                     F: 202-747-3817
                                                     shollman@sheppardmullin.com
                                                     jbierman@sheppardmullin.com
                                                     Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 10, 2019, I caused a copy of the foregoing REPORT TO

 COURT ON ORDER DOCKETED JANUARY 3, 2019, AND CONSENT MOTION FOR

 EXTENSION OF TIME FOR DEFENDANT TO FILE RESPONSIVE PLEADING to be served

 electronically on all counsel for all parties by using the CM/ECF system of the United States

 District Court of the District of Columbia.


                                                     /s/ Mikhael D. Charnoff
                                                     Mikhael D. Charnoff (#476583)
                                                     1010 N. Glebe Road, Suite 310
                                                     Arlington, VA 22201
                                                     P: 703-291-6650
                                                     F: 703- 563-6692
                                                     mike@perrycharnoff.com
                                                     Counsel for Defendant




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